    2:18-cv-00151-DCN         Date Filed 07/03/23      Entry Number 259        Page 1 of 27




                        THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA
                              CHARLESTON DIVISION

  BERKELEY COUNTY SCHOOL                                  C/A No. 2:18-cv-00151-DCN
  DISTRICT,

                           Plaintiff,
                                                       PLAINTIFF’S RESPONSE IN
         v.                                           OPPOSITION TO DEFENDANTS’
                                                      SECOND MOTION TO COMPEL
  HUB INTERNATIONAL LIMITED, HUB                             ARBITRATION
  INTERNATIONAL MIDWEST LIMITED,
  KNAUFF INSURANCE AGENCY, INC.,
  and BRANTLEY THOMAS,

                           Defendants.



       Plaintiff Berkeley County School District (the “District”), through undersigned counsel,

hereby responds in opposition to Defendants HUB International Limited and HUB International

Midwest Limited’s (collectively with Defendant Knauff Insurance Agency, Inc., “HUB”) second

motion to compel arbitration. HUB argues arbitration provisions in two one-year Brokerage

Service Agreements (BSAs), one covering the period July 2002 to June 2003 (the “2002 BSA”)

and another covering the period July 2003 to June 2004 (the “2003 BSA”) compel arbitration of a

dispute that arose years after those agreements expressly terminated and after those agreements

were expressly superseded by subsequent agreements. The Court should deny HUB’s motion

because, as explained below, the 2002 and 2003 Brokerage Service Agreements do not purport to

cover, and are not significantly related to, the claims in the second amended complaint.




                                                1
     2:18-cv-00151-DCN           Date Filed 07/03/23    Entry Number 259        Page 2 of 27




I.     Background

A.     Factual Background1

1.     The Beginning of the District’s Dealings with Stan Pokorney

       Before 1996, the District purchased insurance through the South Carolina Insurance

Reserve Fund (IRF), a state-run agency providing insurance to governmental entities. Findings of

Fact and Conclusions of Law ¶ 17, June 3, 2021, ECF No. 225 (hereinafter “FOF & COL”). But

after Assistant Superintendent Ken Coffey met Stan Pokorney in 1996 at an annual conference for

vendors in 1996, the District began purchasing insurance from Mr. Pokorney. Id. ¶¶ 18–19. Mr.

Pokorney was at that time an insurance agent for Willis Corroon. Id. ¶ 19. The District continued

to use Willis Corroon until Mr. Pokorney, unhappy with his compensation, left Willis Corroon for

Knauff in 2001. Id. ¶ 20. Mr. Coffey chose to continue to purchase insurance from Mr. Pokorney

at his new employer. Id. ¶ 21.

       Later in 2001, finance was removed from Mr. Coffey’s duties and Brantley Thomas became

Executive Director of Finance, and later Chief Financial Officer. Id. ¶ 22. In those capacities, Mr.

Thomas was responsible for acquiring insurance for the District and he reported directly to the

superintendent. Id. ¶¶ 22–23. Mr. Thomas continued in those roles until February 2017. Id. ¶ 23.

During his tenure (2001 to 2017), Mr. Thomas continued to purchase insurance from Mr. Pokorney

at Knauff and later HUB, which acquired Knauff on December 31, 2012. Id. ¶ 24. In February

2017, however, Mr. Thomas was terminated because the District learned he was suspected of

crimes including embezzlement and steering insurance contracts in exchange for bribes. Id. ¶ 26.

Mr. Thomas was later indicted and, after pleading guilty in federal and state court proceedings,




1
 This factual background is largely identical to the factual background presented in the District’s
most recent appellate brief.


                                                 2
     2:18-cv-00151-DCN         Date Filed 07/03/23       Entry Number 259         Page 3 of 27




was sentenced to 63 months incarceration in a federal prison to be followed by 132 months in a

state prison. Id. ¶ 27.

2.      The Brokerage Service Agreements

        The BSAs are contracts for insurance-related services like brokering and consulting. Id.

¶¶ 28–29. They are not contracts for insurance coverage. Id. There were at one time six BSAs at

issue in this case: the 2002 BSA, the 2003 BSA, the 2005 BSA, the 2006 BSA, the 2009 BSA, and

the 2011 BSA. Id. ¶ 10. The terms of each BSA would require the District to pay a brokerage

service fee in exchange for the insurance-related services to be provided. Id. ¶ 30. These fees

were charged in lieu of the traditional 10% to 15% commission on insurance premiums. Id. Each

BSA contains an arbitration provision:

        All disputes, claims or controversies relating to [these Agreements], or the services
        provided, which are not otherwise settled, shall be submitted to a panel of three
        arbitrators and resolved by final and binding arbitration, the exclusion of any courts
        of laws [sic], under the commercial rules of the American Arbitration Association.

Id. ¶ 31.

a.      The 2002 and 2003 Brokerage Service Agreements

        The 2002 BSA was signed by Angel Cartwright, a District employee under Mr. Thomas’s

supervision, at his direction, and by Mr. Pokorney. Id. ¶ 32. Neither Ms. Cartwright nor Mr.

Thomas had authority to enter into this agreement. Id. ¶ 91. The District was able to locate an

executed copy of this BSA in its files. Id. ¶ 33. Under the terms of the BSA, the District agreed

to pay—and it in fact did pay—a brokerage service fee of $100,000 on Commercial Package,

Excess Liability, Activity Bus Travel Accident, Excess Crime, Boiler & Machinery, and Medical

Professional Liability lines of insurance for the 2002–03 fiscal year. Id. ¶ 34. These lines of

insurance were all renewals of policies first put in place by Mr. Pokorney in 1996, when he worked




                                                  3
     2:18-cv-00151-DCN        Date Filed 07/03/23      Entry Number 259         Page 4 of 27




at Willis Corroon. Id. Because the premiums exceeded $1 million, a $100,000 fee in lieu of a

10% to 15% commission was reasonable. Id. ¶ 35.

       The 2003 BSA was identical to the 2002 BSA in every respect, except (1) it was signed by

Mr. Thomas instead of Ms. Cartwright, (2) it was for the 2003–04 fiscal year, (3) Inland Marine

insurance was added, and Medical Professional Liability insurance was removed, and (4) and the

District was unable to locate an executed copy in its files. Id. ¶¶ 37, 39. The District, however,

did find a cover letter addressed to Ms. Cartwright referencing the 2003 BSA, which was addressed

directly to Mr. Thomas. Id. ¶ 38. As with the 2002 BSA, Mr. Thomas lacked authority to enter

into the agreement, but the District did in fact pay the $100,000 brokerage service fee, which was

a reasonable substitute for a commission on the premiums of the insurance lines covered. Id. ¶¶

40–41, 91.

b.     The Switch away from Service Agreements back to Commissions

       There was no BSA for the period July 2004 to June 2005. For that period, Knauff and the

District expressly agreed to discontinue their previous practice of a fee under a brokerage service

agreement having an arbitration provision, and instead converted to a straight commission

arrangement which also paid for risk management services, and which did not (and could not)

include any arbitration agreement. 2d Am. Compl. ¶ 50; Exhibit A (letter from Knauff attorney

R. Bryan Barnes to District attorney William F. Halligan dated Nov. 1, 2005).

c.     The 2005 Request for Proposals

       Nor was there a BSA for the period July 2005 to June 2006. In April 2005 the District put

its insurance business out to bid, issuing Request for Proposals Number 181-(04-05) for insurance

services (the “2005 RFP”).     Id. ¶ 42; see also Defs.’ Trial Ex. 36.001–.008. Mr. Pokorney

submitted a bid for Knauff. Id. ¶ 42. Knauff’s proposal was not for a continuation of the fee-in-

lieu-of-commission arrangement embodied in the 2002 and 2003 BSAs. Defs.’ Trial Ex. 36.008.


                                                4
    2:18-cv-00151-DCN           Date Filed 07/03/23      Entry Number 259         Page 5 of 27




Instead, Knauff proposed a traditional 13.5% average commission on the covered lines of

insurance, continuing what was then the current practice. Id. Knauff however indicated, “If the

District prefers, we will net out all commission and convert to a separate fee agreement for these

RFP lines,” id., and a sample BSA was included with the proposal, Defs.’ Trial Ex. 36.008.

       But two months later, a consultant advised the District that its RFP did not include sufficient

property and casualty coverage. FOF & COL ¶ 48. The District therefore withdrew the RFP and

made an emergency procurement of insurance from the IRF. Id. The result of that decision was

to move the District’s property and casualty lines of insurance from Knauff to the IRF. Id.

       Knauff retained a lawyer, filed a formal protest of the procurement decision, and threatened

litigation. Id. ¶ 49. On January 31, 2006, Knauff and the District executed a settlement agreement.

Exhibit E. The District agreed to pay Knauff a 15% commission on five enumerated insurance

policies that Knauff had placed previously: crime/fidelity, healthcare professionals (meaning

school nurses), school leaders errors and omissions, excess liability, and builders risk but only on

four specified construction projects. Of those, two—crime and excel liability—were referenced

in the 2002/03 BSAs. The District also agreed to pay Knauff $12,500 for claims management

services on those policies, and not to debar Knauff from offering insurance services to the District

in the future. Id. ¶ 50; Resp. Opp’n 1st Mot. Compel Arbitration Ex. D, No. 33-4. Nothing was

paid on student accident coverage. Knauff agreed to withdraw its protest, and agreed it had no

claim for any commissions, fees, or other charges not provided in the settlement agreement.

Finally, both parties agreed:

       4. Knauff has no claim against the District for commissions, fees or other charges
       or expenses not provided in this Agreement.

       ...




                                                 5
    2:18-cv-00151-DCN          Date Filed 07/03/23      Entry Number 259          Page 6 of 27




       6. All appeals, claims, or disputes between Knauff and the District will be resolved
       in accordance with the District’s Procurement Code, as may be amended or
       updated. After exhausting the administrative process under the District's
       Procurement Code, Knauff agrees that judicial venue for any suit, action or
       proceeding arising out of or relating to this Agreement shall be proper only in the
       Court of Common Pleas for Berkeley County, South Carolina and Knauff and the
       District hereby waive and disclaim any and all right to a jury trial on any
       controversy arising from this Agreement. This Agreement shall be governed by the
       laws of the State of South Carolina. Knauff and the District agree that before
       initiation of litigation concerning a dispute arising under this Agreement, the parties
       will submit such dispute to an agreed upon neutral for non-binding mediation.

Resp. Opp’n 1st Mot. Compel Arbitration Ex. D, No. 33-4.

       The settlement agreement itself did not expressly terminate any prior BSA because the

most recent BSA had on its own terms expired a year-and-a-half before the settlement, and because

the parties had a year ago agreed to replace the practice of charging a fee-in-lieu-of-commission

through a BSA separate from the insurance agreement with a straight commission on premiums

paid—which was the basis for the settlement agreement to continue to pay a commission on

premiums for policies placed by Knauff. The settlement agreement, however, did delineate all

services due the District and all payments due Knauff arising from their expired prior agreements.

Any claim for payment or performance related to an agreement before January 30, 2006, would

“arise out of or relate to” the settlement agreement. For example, if Knauff claimed the District

failed to pay an invoice for fees due under a the 2002 BSA, that claim would relate to the settlement

agreement wherein Knauff agreed it had no claim against the District for any fees not provided for

in the settlement agreement.

       Unfortunately, the settlement agreement did not debar Knauff from future business with

the District, providing “This Agreement does not foreclose terms in any future contract that may

be formed between the parties by mutual agreement as a result of a future solicitation of products

or services pursuant to the District’s Procurement Code.”




                                                 6
     2:18-cv-00151-DCN         Date Filed 07/03/23      Entry Number 259         Page 7 of 27




d.     The Purported 2005 Brokerage Service Agreement

       The District was unaware of the purported 2005 BSA’s existence before HUB filed its first

motion to compel arbitration, which attached a copy of the agreement with “proposed” written at

the top of the first page. Id. ¶¶ 43, 45. It was for an indefinite term and was not signed by anyone.

Id. ¶ 44. HUB testified, through its Rule 30(b)(6) representative, that, because of the dispute

regarding the 2005 RFP, the District never agreed to the 2005 BSA. Id. ¶ 47.

e.     The 2006 and 2009 Brokerage Service Agreements

       After the RFP settlement agreement, Knauff and Pokorney were once again able to obtain

the District’s insurance business, this time by the bribes and kickbacks to District’s CFO, Brantley

Thomas, described below. They returned to charging fees in lieu of commissions—this time

because fees could conceal payments far larger, as a percentage of premiums, than would be

possible through a commission charged as a disclosed percentage of the premiums.

       The 2006 and 2009 BSAs do not identify the District as a party. Id. ¶ 55. Rather, they state

the agreement is between Knauff and Securing Assets for Education (SAFE). Id. SAFE is a tax-

exempt, 501(c)(3) nonprofit corporation created in 2003 to finance school construction. Id. ¶ 56.

SAFE issued installment purchase revenue bonds, and used the proceeds to build schools, which

it would then lease to the District. Id. ¶ 56. The District would own the buildings once the bonds

were repaid. Id. SAFE had no employees and no expenses other than interest on property-secured

debt. Id. ¶ 57.

       The 2006 BSA nonetheless charged SAFE a fee of $118,625 per year for each of three

years for brokering and consulting services to be provided to SAFE on its Directors’ and Officers’

(D&O) coverage. Id. ¶ 58. The annual premium for that coverage was $65,000. Id. ¶ 67. A 15%

commission would have been $9,750 per year; instead, the 2006 BSA charged over 12 times that

amount—effectively a 182.5% commission. See id. The 2009 BSA was identical to the 2006 BSA


                                                 7
    2:18-cv-00151-DCN         Date Filed 07/03/23      Entry Number 259        Page 8 of 27




except that it was for the three-year period 2009 to 2012. 1st Mot. Compel Arbitration Ex. F, ECF

No. 23-6. The premiums during that period were also only $65,000 per year. FOF & COL ¶ 67.

Further, the 2006 and 2009 BSAs regarded renewals of D&O coverage first placed many years

earlier, so no brokering services were provided. Id. ¶¶ 72, 152. No claims were ever made, so no

claims management services were ever provided. Id. ¶¶ 68, 152. Nor were any consulting services

provided. Id. ¶¶ 69, 152.

       The 2006 and 2009 BSAs were not signed by anyone. Id. ¶ 52. No witness testified that

any version or copy of these agreements was signed. Id. ¶ 53. The person responsible for obtaining

signatures, Mr. Pokorney’s account manager and wife, Jana Pokorney, testified she usually did not

obtain signatures on agreements. Id. The District was unaware of the 2006 or 2009 BSAs before

HUB filed its motion to compel arbitration. Id. ¶ 54. Mr. Thomas, however, caused the District

to pay Knauff’s invoices for the fees set forth in the 2006 and 2009 BSAs. Trial Tr. 845.

       Knauff and HUB were aware SAFE was a separate entity from the District, and so they

addressed invoices for fees to SAFE rather than the District. FOF & COL ¶ 59. Mr. Pokorney

considered SAFE a separate client from the District. Id. However, because SAFE has no funds

with which to purchase insurance, the District paid the invoices addressed to SAFE for its D&O

insurance coverage as a donation to SAFE. Id. ¶ 64.

       SAFE’s bylaws authorize it to purchase D&O coverage, and SAFE’s board authorized Mr.

Thomas to purchase D&O insurance from Knauff on its behalf, but he was never a director, officer,

or employee of SAFE and the SAFE board never authorized the purchase of insurance consulting

services under the 2006 and 2009 BSAs. Id. ¶¶ 60–62. Nor did the District’s procurement policies

allow him to enter such contracts—his signing authority was limited to $75,000 until 2008, when




                                                8
     2:18-cv-00151-DCN         Date Filed 07/03/23      Entry Number 259        Page 9 of 27




it increased to $100,000, and he did not have authority to enter multiyear contracts. Id. ¶¶ 91, 94.

Knauff and HUB were aware Mr. Thomas lacked authority to enter multiyear contracts. Id. ¶ 94.

f.     The 2011 Brokerage Service Agreement

       The 2011 BSA states it is between the District and Knauff. 1st Mot. Compel Arbitration

Ex. G, ECF No. 23-7. The District was unaware of the 2011 BSA before HUB filed its motion to

compel arbitration. See FOF & COL ¶ 95. It calls for the District to pay an annual fee of $70,000

for services provided on School Leaders Errors and Omissions (E&O) coverage. Id. ¶ 81. The

E&O premium was $75,000 for six years’ coverage. Id. ¶ 82. The customary 15% commission

would have been $11,250. Id. Over the six years of the policy term, the 2011 BSA required the

District to pay $420,000 in fees, over 37 times the customary commission—effectively a 560%

commission. See id. Like the 2006 and 2009 BSAs, the 2011 BSA regarded renewals of coverage

first placed many years earlier, so no brokering services were provided. Id. ¶ 84. No claims were

made in the period 2011 to 2017, so no claims management services were ever provided. Id. ¶ 85.

Nor were any consulting services provided. Id. ¶ 86.

       Like the 2006 and 2009 BSAs, the 2011 BSA was not signed by anyone. Id. ¶ 77. No

witness testified that any version or copy of these agreements was signed. Id. ¶ 78. The School

Board did not approve the 2011 BSA, as required under the District’s Procurement Code for

multiyear contracts. Id. ¶¶ 80, 94. Knauff and HUB were aware Mr. Thomas lacked authority to

enter multiyear contracts and that the School Board had not approved the 2011 BSA. Id. ¶¶ 94–

97. They were also aware that although the District’s Procurement Code exempted insurance

renewals from the request for proposals process, the brokering and consulting services in 2011

BSA were not exempted yet no request for proposals was ever issued. Id. ¶¶ 92–93.

       Knauff and HUB did invoice the amounts indicated in the 2011 BSA, and the District did

pay those invoices. Id. ¶ 88. Knauff and HUB mailed invoices under the 2011 BSA directly to


                                                 9
      2:18-cv-00151-DCN       Date Filed 07/03/23      Entry Number 259        Page 10 of 27




Mr. Thomas’s personal residence instead of to the District’s offices or accounts payable post office

box. Id. ¶ 89.

3.      The Bribing of Brantley Thomas

        Mr. Thomas was the District employee approving all payments of brokerage service fees

from 2002 to 2017. Id. ¶ 98. In 2017, the District learned Mr. Thomas had engaged in bribery and

embezzlement. Id. ¶ 99. Mr. Thomas ultimately pleaded guilty to a 20-count federal information.

Id. ¶ 100. Ten of those counts were honest services wire fraud offenses from March 2010 to

November 2016, in which Mr. Thomas accepted bribes from Mr. Pokorney in exchange for steering

insurance contracts to Mr. Pokorney. Id. ¶ 101. Mr. Thomas also pleaded guilty to multiple

embezzlement charges in state court, including one for which there is substantial evidence Ms.

Pokorney assisted. Id. ¶¶ 104–15.

        Mr. Thomas agreed to purchase services from Knauff and HUB—services Knauff and HUB

never performed—because Mr. Pokorney bribed him and turned a blind eye to his other illegal

activities. Id. ¶ 119. Mr. Pokorney regularly sent invoices and other documents to Mr. Thomas’s

home to conceal his activities from the District and to avoid the District’s internal controls

regarding invoice payments. Id. ¶¶ 116–18. Mr. Pokorney did so because he had much to gain

from bribing Mr. Thomas into causing the District to pay inflated service fees. Id. ¶ 121. Mr.

Pokorney’s compensation arrangement at Knauff gave him 40% of the total revenue he generated,

which included brokerage service fees and commissions, but not insurance premiums. Id. On a

15% commission on a $65,000 D&O policy for SAFE, Mr. Pokorney would receive $3,900. Id.

But when a $118,625 service fee was charged for the same policy, Mr. Pokorney received $47,450.

Id.




                                                10
     2:18-cv-00151-DCN          Date Filed 07/03/23    Entry Number 259        Page 11 of 27




B.     Procedural History

1.     This Court’s First Ruling Denying Arbitration

       This action was filed on January 18, 2018, alleging Mr. Thomas steered contracts for

unnecessary or excessive insurance services to Knauff and HUB in exchange for bribes from 2001

to 2017. Id. ¶ 8; see generally Compl., ECF No 1. HUB responded with its first motion to compel

arbitration, arguing the District assented to the arbitration provisions of the 2002, 2003, 2005,

2006, 2009, and 2011 BSAs. FOF & COL ¶¶ 9–10. The District responded with a memorandum

in opposition and an amended complaint. Id. ¶ 12. The amended complaint alleges racketeering,

fraud, negligent misrepresentation, civil conspiracy, breach of fiduciary duty, aiding and abetting

breach of fiduciary duty, negligence, conversion, constructive trust, and unjust enrichment for the

period 2005 to 2017. Id. ¶ 13. After briefing and argument, the district court denied the motion to

compel arbitration. Id. ¶ 14.

2.     The First Interlocutory Appeal

       HUB immediately appealed the denial pursuant to 9 U.S.C. §§ 16(a)(1)(A)–(B). Id. ¶ 15.

On December 4, 2019, the U.S. Court of Appeals for the Fourth Circuit vacated this Court’s denial

of the motion to compel arbitration. Berkeley Cnty. Sch. Dist. v. Hub Int’l Ltd., 944 F.3d 225, 242

(4th Cir. 2019). The Fourth Circuit held “there are multiple disputes of material fact as to ‘the

making of [any] arbitration agreement,’” and remanded for trial to resolve “factual disputes

concerning the formation of the four unsigned [BSAs]”—meaning the 2005, 2006, 2009, and 2011

BSAs—as required by 9 U.S.C. § 4. Id. at 241. As to the signed 2002 and 2003 BSAs, the Fourth

Circuit held,

       Those Agreements predate the steering and kickback fraud scheme and conspiracy
       alleged in the Operative Complaint. The Denial Order deemed the June 2002 and
       June 2003 Agreements as relevant because the initial complaint had predicated
       some of its claims on conduct dating from 2001. We have recognized, however,



                                                11
     2:18-cv-00151-DCN         Date Filed 07/03/23      Entry Number 259         Page 12 of 27




        that an amended complaint—such as the Operative Complaint here—supersedes an
        initial complaint and renders it “of no effect.”

        Moreover, because the June 2002 Agreement terminated in June 2003, and the June
        2003 Agreement ended in June 2004, the Arbitration Clauses therein could not
        require Berkeley Schools to arbitrate any claims on the basis of conduct that began
        after those Agreements terminated. At best, the June 2002 and June 2003
        Agreements might be relevant to questions of whether Berkeley Schools had
        knowledge of, or assented to, the subsequent Brokerage Service Agreements and
        Arbitration Clauses. We leave such issues, however, for the remand proceedings

Id. (citation omitted).

3.      The Trial and this Court’s Second Ruling Denying Arbitration

        After the Fourth Circuit issued its opinion regarding the first interlocutory appeal, the case

was remanded back to this Court for trial on December 26, 2019. Mandate, ECF No. 105. The

parties conducted two years of pretrial discovery, including 10 depositions and numerous

discovery-related motions. Finally, on January 14, 2021, the bench trial began. The trial took four

full days, with closing arguments on a fifth day. Id. Seven witnesses testified at trial (counting

Ms. Abrahamson and Ms. Williams twice as they were called by both parties) and another six were

presented at trial via deposition designations.

        On June 3, 2021, the Court issued extensive findings of fact and conclusions of law based

on the evidence and argument presented at trial. FOF & COL. The Court concluded the District

did not assent to the 2006, 2009, or 2011 BSAs and so is not bound by their arbitration provisions,

and again denied the motion to compel arbitration. Id. ¶ 175. Regarding the 2002 and 2003 BSAs,

the Court held the Fourth Circuit’s opinion in the first appeal meant the 2002 and 2003 BSAs could

be evidence of assent to later BSAs but could not directly bind the District to arbitrate claims based

on conduct beginning after their expiration in mid-2004. Id. ¶¶ 145–147, ¶ 169.




                                                  12
     2:18-cv-00151-DCN         Date Filed 07/03/23      Entry Number 259         Page 13 of 27




4.     The Second Interlocutory Appeal

       HUB again appealed. In the second appeal, HUB did not challenge this Court’s factual

findings nor its conclusions regarding assent to the 2005, 2006, 2009, and 2011 BSAs. Appellants’

Brief at 1, Berkeley Cnty. Sch. Dist. v. HUB Int’l Ltd., No. 21-1691, 2022 WL 17974626 (4th Cir.

Dec. 28, 2022). It only challenged the Court’s conclusion that the Fourth Circuit’s opinion in the

first appeal that the 2002/03 BSAs could not directly bind the District to arbitrate claims asserted

in the amended complaint was binding as the law of the case. Id. at 1–3. HUB argued that

conclusion was erroneous because the Fourth Circuit’s opinion was based only on the allegations

in the amended complaint, but evidence at the subsequent trial purportedly showed the conduct

complained of in that complaint actually began within the terms of the 2002/03 BSAs, and so the

prior appellate decision was not law of the case. Id. at 25–28. This “new” evidence was that a

vendor detail attached to the amended complaint erroneously included eight invoices paid after

July 2004 that were for services rendered before July 2004, and that the amended complaint

included allegations regarding seven lines of insurance put into place in or before 2003: Excess

General Liability, Excess Crime Coverage, Student Accident Coverage, Inland Marine Coverage,

School Board Errors and Omissions Coverage, Builders Risk Coverage, and Directors and Officers

Liability for SAFE. See id. at 28–29. Of those, only Excess General Liability, Excess Crime

Coverage, Inland Marine Coverage are relevant to the 2002 or 2003 BSAs. See 2d Mot. Compel

Arbitration Exs. A & B, ECF Nos. 258-1 & 258-2. Neither the 2002 BSA nor the 2003 BSA

concern Builders Risk Coverage, Directors and Officers Liability for SAFE, Student Accident

Coverage (HUB may have confused Student Activity Bus Coverage with Student Accident

Coverage). Id.

       In a brief unpublished decision, the Fourth Circuit vacated this Court’s denial of HUB’s

first motion to compel arbitration in part. The Court held “[t]he district court correctly interpreted


                                                 13
      2:18-cv-00151-DCN         Date Filed 07/03/23      Entry Number 259         Page 14 of 27




our prior decision in this case as it concerns the 2002 and 2003 BSAs” but “[n]evertheless, we

agree with HUB that the district court was not bound by our prior decision about the 2002 and

2003 BSAs because the Section 4 trial produced substantially different evidence on that score.”

Berkeley Cnty. Sch. Dist., 2022 WL 17974626, at *2. The Fourth Circuit noted the amended

complaint had an “attached exhibit that quantified the financial losses it incurred by paying for

allegedly fraudulent or unnecessary insurance policies and consulting services” of which “part of

those alleged damages arose from insurance policies procured or services provided while the 2003

BSA was still in effect.” Id.

        The Fourth Circuit continued that “we do not opine on what the new evidence shows,”

“whether it leads to the conclusion that Berkeley Schools must arbitrate all or part of this dispute,

whether the parties must arbitrate the question of arbitrability, or whether Berkeley Schools in fact

assented to the 2002 or 2003 BSA.” Id. The Fourth Circuit held that this Court’s conclusion that

the 2005, “2006, 2009, and 2011 BSAs do not require arbitration stands.” Id. at *3.

5.      The Current Proceedings

        On remand, the District amended the complaint again. The operative second amended

complaint seeks no damages from before July 14, 2006 (over two years after the expiration of the

2003 BSA) and no damages specific to Inland Marine Coverage. See generally 2d Am. Compl.,

ECF No. 255. HUB filed a second motion to compel arbitration and this opposition followed.

II.     Legal Standard

        Pursuant to the Federal Arbitration Act (FAA),

        A written provision in . . . a contract evidencing a transaction involving commerce
        to settle by arbitration a controversy thereafter arising out of such contract or
        transaction, . . . shall be valid, irrevocable, and enforceable, save upon such grounds
        as exist at law or in equity for the revocation of any contract.




                                                  14
    2:18-cv-00151-DCN          Date Filed 07/03/23        Entry Number 259         Page 15 of 27




9 U.S.C. § 2. A litigant can compel arbitration under the FAA if the litigant can demonstrate: “(1)

the existence of a dispute between the parties; (2) a written agreement that includes an arbitration

provision which purports to cover the dispute; (3) the relationship of the transaction, which is

evidenced by the agreement, to interstate and foreign commerce, and (4) the failure, neglect, or

refusal of the defendant to arbitrate the dispute.” Whiteside v. Teltech Corp., 940 F.2d 99, 102 (4th

Cir. 1991). “While the Supreme Court has acknowledged a ‘liberal federal policy favoring

arbitration,’ . . . it has also consistently held that § 2 of the FAA reflects the ‘fundamental principle

that arbitration is a matter of contract.’” Lorenzo v. Prime Comc’ns, L.P., 806 F.3d 777, 781 (4th

Cir. 2015) (quoting AT & T Mobility LLC v. Concepcion, 563 U.S. 333, 339 (2011) and Moses H.

Cone Mem’l Hosp. v. Mercury Constr. Corp., 460 U.S. 1, 24 (1983)), it has also consistently held

that § 2 of the FAA reflects the “fundamental principle that arbitration is a matter of contract,” id.

(quoting Rent-A-Center, West, Inc. v. Jackson, 561 U.S. 63, 67 (2010)). “Thus, a court may order

arbitration only when ‘satisfied that the parties agreed to arbitrate,’ id. (quoting Granite Rock Co.

v. Int’l Bhd. of Teamsters, 561 U.S. 287, 297 (2010)), and “[t]he burden of proving an agreement

to arbitrate rests upon the party seeking arbitration,” Silkworm Screen Printers, Inc. v. Abrams, 978

F.2d 1256 (4th Cir. 1992) (table) (citing In re Mercury Construction Co., 656 F.2d 933, 939 (4th

Cir. 1981)).

        The question of whether the parties agreed to arbitrate is resolved by application of state

contract law. See Johnson v. Circuit City Stores, Inc., 148 F.3d 373, 377 (4th Cir. 1998). Both the

South Carolina Supreme Court and the Fourth Circuit hold “broad” clauses which provide for

arbitration of all disputes “arising out of or relating to” the contract are not limited “to the literal

interpretation or performance of the contract [, but] embrace[] every dispute between the parties

having a significant relationship to the contract.” Landers v. Fed. Deposit Ins. Corp., 739 S.E.2d




                                                   15
       2:18-cv-00151-DCN      Date Filed 07/03/23       Entry Number 259        Page 16 of 27




209, 214 (S.C. 2013) (quoting J.J. Ryan & Sons, Inc. v. Rhone Poulenc Textile, S.A., 863 F.2d 315,

321 (4th Cir. 1988)). This is a concept of state contract law—that a “broad” arbitration clause

expresses a contractual agreement to arbitrate disputes beyond the “literal interpretation or

performance of the contract.” Id.

III.     Argument

A.       The validity of the 2002 and 2003 Brokerage Service Agreements is not at issue.

         HUB oddly begins its argument with an attempt to establish that the 2002 and 2003 BSAs

are valid contracts. 2d Mot. Compel Arbitration 12–15. HUB’s improper attempt to cite trial

testimony to relitigate factual findings that were not challenged on appeal cannot establish that the

signatures of employees lacking authority to sign contracts on behalf of the District suffices to

bind the District to those contracts. As the Court found, Mr. Thomas lacked actual authority to

sign them, and he lacked apparent authority because Mr. Pokorney had actual or constructive

knowledge from his years of working with school districts that he lacked authority. See FOF &

COL ¶¶ 90–97. Those findings were not challenged on appeal, and the Fourth Circuit expressed

no opinion on “whether Berkeley Schools in fact assented to the 2002 or 2003 BSA.” Berkeley

Cnty. Sch. Dist., 2022 WL 17974626, at *3.

         However, the issue is irrelevant. As the Court found, the terms of the 2002 and 2003 BSAs

were commercially reasonable and both parties performed under them without complaint. See

FOF & COL ¶¶ 32–41. That constitutes constructive ratification despite mistakes regarding

signatory authority. See Restatement (Second) of Contracts § 380 (1981) (“The power of a party

to avoid a contract for mistake . . . is lost if after he knows or has reason to know of the mistake

. . . he acts with respect to anything that he has received in a manner inconsistent with

disaffirmance.”). And so the District accepted that they are “valid” insofar as their provisions are

enforceable against the District despite the lack of proper signatory authority. The District


                                                 16
    2:18-cv-00151-DCN          Date Filed 07/03/23      Entry Number 259         Page 17 of 27




therefore does not argue, decades later, that the arbitration provisions in the 2002 or 2003 BSAs

are inapplicable because the District’s assent to them suffers a technical defect. The District merely

argues those arbitration provisions are inapplicable to unrelated conduct occurring years after the

express termination of those agreements to arbitrate, after the services described in those

agreements were discontinued, and after a superseding agreement to resolve any disputes arising

during the period of the 2002 and 2003 BSAs in a judicial forum.

       Since the enforceability of the 2002 and 2003 BSAs is not at issue, one is left to wonder

why HUB starts its motion with makeweight pages discussing the issue. The apparent reason is

stated in an umbrella paragraph to the argument regarding validity: HUB argues that the second

factor a party seeking to compel arbitration must establish is “(2) a written agreement that includes

an arbitration provision which purports to cover the dispute.,” “[t]he record confirms [the 2002/03

BSAs] are valid contracts,” “[a]nd so it is also clear that the broad arbitration clause in the 2002

and 2003 agreements bear a significant relationship to the allegations at the core of the District’s

case.” 2d Mot. Compel Arbitration 11–12. But HUB’s final leap in logic makes no sense. The

mere validity of the 2002/03 BSAs establishes nothing regarding their relationship to the

allegations in this case. The second factor is not whether any random agreement between the

parties containing an arbitration provision is valid. The factor is whether there is “a written

agreement that includes an arbitration provision which purports to cover the dispute.” Whiteside

940 F.2d at 102. Neither the 2002 nor the 2003 BSA purports to cover this dispute because each

expressly terminated years before this dispute first arose. Nothing in the text of either agreement

purports to cover disputes about fees charged years after the termination of the agreement. Thus,

the mere fact that the 2002 and 2003 BSAs were enforceable because they were constructively




                                                 17
     2:18-cv-00151-DCN         Date Filed 07/03/23        Entry Number 259         Page 18 of 27




ratified despite lacking the signature of any person having actual or apparent authority to bind the

District in no way explains why they should govern disputes arising years after they terminated.

        Moreover, HUB’s argument is prohibited by the law of the case. The Fourth Circuit held

the Court correctly interpreted its first opinion in this case to hold that the 2002 and 2003 BSAs

cannot require the District to arbitrate this dispute if they “predate the conduct” from which the

District’s claims arise, and remanded only to consider whether new evidence presented at trial

shows that the District’s claims actually arose during the period during the period of those BSAs.

Berkeley Cnty. Sch. Dist., 2022 WL 17974626, at *2 (“The district court correctly interpreted our

prior decision in this case as it concerns the 2002 and 2003 BSAs.”); FOF & COL ¶ 169. The

“new evidence” was the discovery that eight invoices on a vendor detail attached related to services

before July 2004, and that certain lines of insurance were first placed during or before the term of

the 2002/03 BSAs. Appellants’ Brief at 25–29, Berkeley Cnty. Sch. Dist., 2022 WL 17974626.

HUB must argue this “new evidence” means the District’s claims arise within the terms of the

2002/03 BSAs or satisfy the “significant relationship test” with those BSAs. HUB is prohibited

from arguing (again) that the mere validity of the 2002/03 BSAs compels arbitration because that

is not new evidence. The first appellate decision squarely dealt with that argument. See Berkeley

Cnty. Sch. Dist., 944 F.3d at 241 (discussing 2002/03 BSAs under the assumption that they are

valid agreements).

B.      The District’s claims have nothing to do with the 2002 or 2003 Brokerage Service
        Agreements.

        A contractual provision—including an arbitration provision—may apply to a dispute it

does not purport to cover if it satisfies the significant relationship test, which is a question of South

Carolina contract law. See Landers, 739 S.E.2d at 214. “When a party invokes an arbitration

clause after the contractual relationship between the parties has ended, the parties’ intent governs



                                                   18
    2:18-cv-00151-DCN         Date Filed 07/03/23      Entry Number 259        Page 19 of 27




whether the clause’s authority extends beyond the termination of the contract.” Davis v. ISCO

Indus., Inc., 864 S.E.2d 391, 395 (S.C. Ct. App. 2021), reh’g denied (Oct. 1, 2021), cert. denied

(Sept. 7, 2022) (internal quotation marks omitted). “A broadly-worded arbitration clause applies

to disputes that do not arise under the governing contract when a ‘significant relationship’ exists

between the asserted claims and the contract in which the arbitration clause is contained.” Id.

(internal quotation marks omitted). This is HUB’s real argument—that although the actions giving

rise to the claims asserted in the second amended complaint occurred years after the 2002/03 BSAs

terminated, those claims nonetheless are “significantly related” to the 2002/03 BSAs.

       “To decide whether an arbitration agreement encompasses a dispute, a court must

determine whether the factual allegations underlying the claim are within the scope of the broad

arbitration clause, regardless of the label assigned to the claim.” Id. (internal quotation marks

omitted). Unfortunately for HUB, as explained below, the allegations of the second amended

complaint provide no support for compelling arbitration. But even more unfortunately, HUB

represents to the Court,

       The SAC lists the following “commercial insurance policies” that HUB is alleged
       to have wrongfully “recommended” as “the District’s insurance consultant[ ]”:

               a.       Builder’s Risk Policies;
               b.       Student Accident Policies;
               c.       Crime – Excess Crime Policies;
               d.       Cyber Policies;
               e.       Excess General Liability and Umbrella Policies;
               f.       Directors and Officers Liability Policies for the nonprofit
                        organization Securing Assets for Education;
               g.       Inland Marine Policies, including terrorism coverage; and
               h.       Errors and Omissions coverage for School Board members.

       Dkt. 255 ¶ 45.

2d Mot. Compel Arbitration 17. But as HUB is aware, Paragraph 45 of the second amended

complaint does not say that. Instead, it says:



                                                 19
   2:18-cv-00151-DCN         Date Filed 07/03/23     Entry Number 259        Page 20 of 27




       45.    As the District’s insurance consultants, the Insurance Defendants
       recommended, and the District, through Thomas, purchased myriad commercial
       insurance policies, including the following:

               a.     Builder’s Risk Policies;
               b.     Student Accident Policies;
               c.     Crime – Excess Crime Policies;
               d.     Cyber Policies;
               e.     Excess General Liability and Umbrella Policies;
               f.     Directors and Officers Liability Policies for the nonprofit
                      organization Securing Assets for Education (“SAFE”), which
                      operates to benefit the District;
               g.     Inland Marine Policies, including terrorism coverage; and
               h.     Errors and Omissions coverage for School Board members.


HUB attempts to trick the Court into reading the adverb “wrongfully” in Paragraph 45 so that HUB

can wrongly claim the second amended complaint asserts misconduct regarding services

performed under the 2002/03 BSAs. But Paragraph 45 merely alleges that the District purchased

many insurance policies, including those listed, from Knauff, through (as explained in Paragraph

46) one-year brokerage service agreements. This uncontested fact is presented as background

information preceding the second amended complaint’s chronological narrative beginning in 2002.

See 2d Am. Compl. ¶¶ 47 et seq. As to the events within the periods of the 2002/03 BSAs, the

second amended complaint states that the amounts charged for the services described in those

agreements were “consistent” with customary rates and “commercially reasonable.” Id. ¶¶ 47–49.

There is no allegation that Knauff wrongfully recommended the coverages enumerated in the 2002

or 2003 BSA.

       Beyond that, HUB presents a confusing word salad of phrases snipped from general

allegations in the second amended complaint without attempting to engage the underlying specific

allegations to show how they are related, significantly or otherwise, to the 2002/03 BSAs. See 2d

Mot. Compel Arbitration 16, 18, 19. But even a cursory review of the second amended complaint’s

specific allegations of damages shows they do not relate to the 2002/03 BSAs:


                                               20
    2:18-cv-00151-DCN         Date Filed 07/03/23      Entry Number 259        Page 21 of 27




       Sham Brokerage or Consulting Fees. The second amended complaint specifically seeks

damages amounts paid for brokerage or consulting fees paid after July 14, 2006—over two years

after the termination of the 2003 BSA, after Knauff and the District abandoned the fee structure of

those BSAs in favor of a traditional model of commissions on premiums, after Knauff and the

District and executed a settlement agreement regarding a dispute about those commissions arising

from an RFP for insurance services that the District issued then withdrew, and after Knauff

subsequently “persuaded” the District’s CFO, Brantley Thomas, to resume paying “negotiated”

fees to Knauff instead of industry-standard commissions. See 2d Am. Compl. ¶¶ 63–66. Whether

the District in 2002 and 2003 needed the insurance coverages listed in the 2002 or 2003 BSAs has

nothing to do with sham fees charged years later.

       HUB’s only attempt to explain how this relates to the 2002/03 BSAs comes near the end

of its motion, when HUB notes the liquidated damages alleged (for calculation of prejudgment

interest) sum to $7,565,782.50 but the second amended complaint in other places asserts damages

of “tens of millions of dollars.” 2d Mot. Compel Arbitration 19–20. HUB claims the only way to

get the additional $2,434,217.51 needed to reach a penny over $10 million need to make the plural

“tens” technically accurate is to “reach all the way back to 2002.” Id. at 20. But the liquidated

damages are only fees charged since July 14, 2006. They do not include premiums for the

unnecessary or excessive coverages purchased after or expressly not encompassed under the

2002/2003 BSAs that are discussed below. Nor do they include compounded, accrued interest—

a substantial and very real expense on millions of dollars of liquidated damages from as long ago

as 17 years. That is how the actual damages in this case exceed $10 million even before

special damages.




                                                21
   2:18-cv-00151-DCN         Date Filed 07/03/23      Entry Number 259       Page 22 of 27




       Builders Risk Coverage. The second amended complaint seeks damages beginning in 2013

regarding Builders Risk coverage purchased for new schools built with proceeds from a bond

issuance approved by voters in November 2012. 2d Am. Compl. ¶¶ 83–101. Builders Risk is not

a coverage enumerated in the 2002/03 BSAs, and, regardless, the Builders Risk coverage

complained of in the second amended complaint was first purchased in 2013.

       Student Accident Insurance. The second amended complaint seeks damages regarding

Student Accident Insurance, which is not a coverage enumerated in the 2002/03 BSAs and which

was not purchased through HUB until 2015 (again, HUB may have confused Student Accident

Insurance this with student activity bus travel liability coverage, which was covered under the

2002/03 BSAs but which is not at issue in this case). Id. ¶¶ 101–115.

       D&O Coverage for SAFE. The second amended complaint seeks damages regarding

Directors and Officers Liability policies purchased for SAFE, which, again, is not a coverage

enumerated in the 2002/03 BSAs, and which were purchased through agreements to which the

District was not even a party. Id. ¶¶ 116–132.

       Cyber Insurance. The second amended complaint seeks damages seeks damages regarding

Cyber Insurance, which was not purchased until 2013. Id. ¶¶ 133–145

       School Board E&O Coverage. The second amended complaint seeks damages regarding

School Board Errors and Omissions coverage, which is not a coverage enumerated in the 2002/03

BSAs. Id. ¶¶ 146–151.

       Workers’ Compensation Review. The second amended complaint seeks damages regarding

a bogus review of workers’ compensation coverage in 2016, which is (obviously) not an activity

encompassed by the 2002/03 BSAs. Id. ¶¶ 152–158.




                                                 22
    2:18-cv-00151-DCN        Date Filed 07/03/23      Entry Number 259        Page 23 of 27




       Excess Liability and Excess Crime. The only coverages enumerated in the 2002/03 BSAs

that second amended complaint specifically seeks damages regarding are excess liability and

excess crime (a point HUB hints at when it states, “The SAC discusses certain policies in greater

detail, including the ‘Excess Insurance’ and ‘Crime Insurance’ ‘Policies,’” 2d Mot. Compel

Arbitration 17). The allegations are that beginning in 2010, Knauff charged exorbitant broker’s

fees exceeding the total premiums for those coverages and recommended the purchase of

additional, duplicative coverage. Id. ¶¶ 133–145. The amount of broker’s fees charged for excess

liability coverage in or after 2010 is not topic covered by the 2002/03 BSAs. The allegations that

Knauff and HUB acted improperly regarding excess liability and crime insurance beginning in

2010 when Mr. Pokorney started writing checks directly to Brantley Thomas simply have nothing

to do with the 2002/03 BSAs.

       HUB asserts “the record shows that HUB recommended that the District take out the

Excess Liability and Crime polices about which the District complains pursuant to the 2002

Agreement, and that HUB recommended the District take out both of those policies . . . pursuant

to the 2003 Agreement.” 2 2d Mot. Compel Arbitration 18. But HUB told the Fourth Circuit that

the District acquired Excess Liability and Crime policies in 1996, before the District ever dealt

with Knauff or HUB (and that is just when the policies were purchased from commercial carriers

rather than the IRF). See Appellants’ Brief at 29, Berkeley Cnty. Sch. Dist., 2022 WL 17974626.

The Excess Liability and Crime “policies about which the District complains” in the second

amended complaint were recommended and acquired in and after 2010. 2d Am. Compl. ¶¶ 133–

145. All that happened in 2002, 2003, or 2004 were routine renewals of coverages the District had



2
  The ellipsis omits a reference to Inland Marine coverage. At times, HUB’s motion mentions
Inland Marine coverage, but allegations regarding Inland Marine coverage were removed from the
second amended complaint.


                                               23
     2:18-cv-00151-DCN         Date Filed 07/03/23      Entry Number 259         Page 24 of 27




maintained for many years, which have nothing to do with the District’s claims of wrongdoing

beginning in 2010.

       Finally, HUB fails to address just how extraordinarily attenuated the 2002/03 BSAs are

from any damages now claimed in this case. The damages alleged in the second amended

complaint occurred years after the express termination of the 2002/03 BSAs. They occurred after

Knauff and the District agreed to do business through a traditional commission arrangement and

to cease doing business through fee agreements with arbitration provisions. They occurred after

Knauff and the District had a legal dispute over those commissions which they settled with an

agreement selecting a judicial forum for disputes. Resp. Opp’n 1st Mot. Compel Arbitration Ex.

D, No. 33-4. That RFP settlement specifically and expressly settled any claims about pre-January

2006 conduct regarding the Excess Liability and Crime policies which are the only two policies

enumerated in the 2002/03 BSAs for which the second amended complaint claims damages—

damages occurring six years or more after the 2003 BSA terminated. See id.

C.     The issue before the Court is whether an agreement to arbitrate exists, not whether
       this case is within the scope of an existing arbitration agreement.

       In the last paragraph of its motion, HUB argues whether arbitration of this case should be

compelled is a “threshold” question of arbitrability that under the Commercial Rules of the

American Arbitration Association, incorporated in the arbitration provisions of the 2002 and 2003

BSAs, must be decided by an arbitrator. 2d Mot. Compel Arbitration 20. The argument is that

some sort of arbitration agreement obviously exists in the 2002/03 BSAs, and the scope of that

agreement must be decided by an arbitrator, not this Court. Cf. Henry Schein, Inc. v. Archer &

White Sales, Inc., 139 S. Ct. 524, 529 (2019) (“When the parties’ contract delegates the arbitrability

question to an arbitrator, a court may not override the contract.”).




                                                 24
    2:18-cv-00151-DCN            Date Filed 07/03/23      Entry Number 259         Page 25 of 27




          The fatal flaw with HUB’s argument is that the arbitration agreements HUB seeks to

enforce expressly expired years before the actionable conduct at issue in this case occurred. For

that reason, there is no agreement to arbitrate, and since HUB disagrees, the District has a right to

a judicial determination of the existence of an agreement to arbitrate. Id. at 530 (citing 9 U.S.C.

§ 2). Because the 2002/03 BSAs contain nothing purporting to govern the allegations of the second

amended complaint, the rule of decision for a judicial determination of whether an agreement

exists is the significant relationship test: whether the broad arbitration clauses the parties agreed

to in 2002 and 2003 compel arbitration here despite the absence of any agreement purporting to

govern this dispute. See Davis, 864 S.E.2d at 395. Of course, an agreement to arbitrate one issue

at one time is not an agreement to arbitrate all issues until the end of time. Normally, arbitration

agreements terminate with their container contracts:

          Therefore, even in cases involving very broad arbitration clauses, the presumption
          in favor of arbitrating disputes over contract duration can be overcome by a clear
          showing that the parties intended for the underlying contract to expire, or separately
          agreed to terminate it, before the relevant dispute arose. For example, if a contract
          provides that “all disputes between the parties shall be arbitrated,” but with equal
          clarity provides that it will expire on a date certain, then any dispute over whether
          the contract actually expired or was extended by the parties must be decided by the
          court rather than by the arbitrator.

Nat’l R.R. Passenger Corp. v. Bos. & Maine Corp., 850 F.2d 756, 762–63 (D.C. Cir. 1988) (cited

with approval in Va. Carolina Tools, Inc. v. Int’l Tool Supply, Inc., 984 F.2d 113, 118 (4th Cir.

1993)).

          Here, the parties agreed that the most recent agreement with an arbitration provision, the

2003 BSA, would terminate as of June 30, 2004. 2d Mot. Compel Arbitration Ex. B at ¶ 3. That

is why the Fourth Circuit held that “because the June 2002 Agreement terminated in June 2003,

and the June 2003 Agreement ended in June 2004, the Arbitration Clauses therein could not require

Berkeley Schools to arbitrate any claims on the basis of conduct that began after those Agreements



                                                   25
      2:18-cv-00151-DCN       Date Filed 07/03/23       Entry Number 259        Page 26 of 27




terminated.” Berkeley Cnty. Sch. Dist., 944 F.3d at 241. Thus, there can be no agreement to

arbitrate this dispute unless it is so significantly related to the 2002 or 2003 BSA as to be subject

to the terms of that now-expired agreement. See, e.g., Bartels by & through Bartels v. Saber

Healthcare Grp., LLC, 880 F.3d 668, 678 (4th Cir. 2018); Long v. Silver, 248 F.3d 309, 316–17

(4th Cir. 2001); J.J. Ryan & Sons, Inc., 863 F.2d at 321; Hinson v. Jusco Co., 868 F. Supp. 145,

149 (D.S.C. 1994); Landers, 739 S.E.2d at 214; Davis, 864 S.E.2d at 395. As explained above,

the claims in the second amended complaint simply have nothing at all to do with the 2002 BSA

or the 2003 BSA. For that reason, there is no agreement to arbitrate those claims and HUB’s

motion to compel arbitration must be denied.

IV.     Conclusion

        For the foregoing reasons, HUB’s second motion to compel arbitration should be denied.

                                              Respectfully submitted by:

                                              s/Phillip D. Barber
                                              Richard A. Harpootlian (Fed. ID No. 1730)
                                              Phillip D. Barber (Fed. ID No. 12816)
                                              Andrew R. Hand (Fed. ID No. 12176)
                                              RICHARD A. HARPOOTLIAN, P.A.
                                              1410 Laurel Street
                                              Post Office Box 1090
                                              Columbia, SC 29202
                                              Telephone: (803) 252-4848
                                              Facsimile: (803) 252-4810
                                              rah@harpootlianlaw.com
                                              pdb@harpootlianlaw.com
                                              arh@harpootlianlaw.com

                                              Joshua S. Whitley, Esquire
                                              Federal Bar No.: 10829
                                              SMYTH WHITLEY, LLC
                                              126 Seven Farms Drive
                                              First Citizens Plaza, Suite 260
                                              Charleston, South Carolina 29492
                                              843.606.5635 Office
                                              843.654.4095 Facsimile
                                              jwhitley@smythwhitley.com


                                                 26
   2:18-cv-00151-DCN        Date Filed 07/03/23   Entry Number 259        Page 27 of 27




                                         Jeffrey A. Breit, Esq.
                                         Virginia State Bar No.: 18876
                                         BREIT BINIAZAN, P.C.
                                         600 22nd Street, Suite 402
                                         Virginia Beach, Virginia 23451
                                         757.670.3888 Office
                                         757.670.3939 Facsimile
                                         jeffrey@bbtrial.com
                                         Pro Hac Vice

                                         ATTORNEYS FOR PLAINTIFF
                                         BERKELEY COUNTY SCHOOL DISTRICT

July 3, 2023
Columbia, South Carolina.




                                           27
